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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 AMERICAN LIBRARY ASSOCIATION,
 et al.,

                        Plaintiffs,

           v.                                           No. 25-cv-01050-RJL

 KEITH SONDERLING, in his capacity as
 Acting Director of the Institute of Museum
 and Library Services, et al.,

                        Defendants.



                   DEFENDANTS’ MOTION FOR RECONSIDERATION
                   OF THE MAY 1, 2025, MEMORANDUM ORDER AND
                      NOTICE OF SUPPLEMENTAL AUTHORITY

       Two days after this Court temporarily enjoined Defendants’ efforts to comply with

Executive Order 14,238, see Mem. Order, ECF No. 36 (May 1, 2025) (“May 1, 2025,

Memorandum Order” or “TRO”), the Court of Appeals stayed an analogous order in a strikingly

similar case, reasoning that the Government was “likely to succeed on the merits [in that case]

because the district court likely lacked subject-matter jurisdiction to enjoin [the agency’s]

personnel actions and to compel the agency to restore [grants the agency had canceled].” See

Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, at *2 (D.C. Cir. May 3, 2025).1 That

dispositive analysis applies here with equal force. In light of this guidance from the D.C.

Circuit—issued in a case that cannot meaningfully be distinguished from the one before this

Court—Defendants respectfully ask that this Court reconsider its May 1, 2025, Memorandum



       Plaintiffs-Appellees have filed an emergency petition for rehearing en banc. See Pet.
       1

For Rehearing En Banc, Widakuswara v. Lake, No. 25-5144 (D.C. Cir. May 5, 2025).
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Order and dissolve the extant temporary restraining order.2 For the same reason, this Court

should also deny the pending motion for a preliminary injunction.

       Under Federal Rule of Civil Procedure 54(b), “the Court can revise an interlocutory order

‘as justice requires.’” Peck v. SELEX Sys. Integration, Inc., 270 F. Supp. 3d 107, 117 (D.D.C.

2017) (quoting Capitol Sprinkler Inspection, Inc. v. Guest Servs., Inc., 630 F.3d 217, 227 (D.C.

Cir. 2011)). [T]he moving party has the burden of showing that reconsideration is warranted,

and that some harm or injustice would result if reconsideration were to be denied.” Id. (citing

Pueschel v. Nat’l Air Traffic Controllers’ Ass’n, 606 F. Supp. 2d 82, 85 (D.D.C. 2009)).

“[R]econsideration may be warranted . . . where a court failed to consider controlling law or

where a significant change in the law occurred after the decision was rendered.” Id. (quotation

omitted).3 In this case, after this Court issued the May 1, 2025, Memorandum Order, the Court

of Appeals provided guidance on the controlling law in Widakuswara. That guidance compels

reconsideration of the TRO.

       In Widakuswara, plaintiffs challenged the efforts of United States Agency for Global

Media (USAGM) to comply with Executive Order 14,238, both with respect to personnel




       2
         Consistent with Local Civil Rule 7(m), Defendants’ counsel conferred with Plaintiffs’
counsel concerning the relief sought herein. Plaintiffs’ counsel indicated that Plaintiffs oppose
Defendants’ motion for reconsideration.
       3
         Defendants recognize this motion could, alternatively, be viewed as a motion to modify
an injunction pursuant to Rule 62(c) or to alter a judgment pursuant to Rule 59(e). Under either
of those applicable frameworks, the relevant standard would allow reconsideration if there is a
“change of circumstances between entry of the injunction and the filing of the motion [for
reconsideration] that would render the continuance of the injunction in its original for
inequitable,” Fox Television Stations, Inc. v. FilmOn X, LLC, 968 F. Supp. 2d 134, 140 (quoting
Favia v. Ind. Univ. of Pa., 7 F.3d 332, 337 (3d Cir. 1993) (Rule 62(c)) or “there is an intervening
change of controlling law,” id. (quoting Fox. V. Am. Airlines, Inc., 389 F.3d 1291, 1296 (D.C
Cir. 2004)) (Rule 59(e)). In light of the D.C. Circuit’s decision in Widakuswara, both standards
counsel in favor of granting Defendants’ motion.
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decisions and as to grant cancellations. The district court held that it had jurisdiction to

adjudicate both kinds of claims, and issued a preliminary injunction requiring USAGM to, inter

alia, “(1) restore its employees and contractors to their pre-March 14 status,” and “(2) restore its

FY 2025 grants with” two of its grantees. The Court of Appeals granted a stay of this injunction

by a divided vote, concluding that the district court likely lacked jurisdiction as to both

categories of claims. See Widakuswara, 2025 WL 1288817, at *2

       With respect to the first category—claims challenging the agency’s personnel actions—

the D.C. Circuit explained that Congress “established comprehensive statutory schemes for

adjudicating employment disputes with the federal government,” including the Merit Systems

Protection Board, the Office of the Special Counsel, the Federal Labor Relations Authority, the

Foreign Service Labor Relations Board, the Foreign Service Grievance Board, and the Civilian

Board of Contract Appeals. Id. The Court of Appeals emphasized: “these remedial schemes

‘provide[ ] the exclusive procedures by which federal employees’ may pursue employment- and

contractor-related claims.” Id. (quoting Am. Fed’n of Gov’t Emps., AFLCIO v. Trump, 929 F.3d

748, 755 (D.C. Cir. 2019)).

       The plaintiffs in Widakuswara framed their claims as a challenge to what they

characterized as a “dismantling” or “wholesale shuttering” of a government agency, id., but the

Court of Appeals held, unequivocally, that the APA does not allow such “’wholesale’ challenges

to an agency’s ‘entire program,’” id. at *3 (quoting Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871,

893 (1990)), reasoning: “[t]he ‘dismantling’ that plaintiffs allege is a collection of ‘many

individual actions’ that cannot be packaged together and ‘laid before the courts for wholesale

correction under the APA.’” Id. (quoting Lujan, 497 U.S. at 893).

       Yet that is the very theory underlying the May 1, 2025, Memorandum Order.



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Specifically, the Court reasoned therein that “[t]he wholesale termination of grants and services

and the mass layoffs appear to violate the clear statutory mandates outlined in the [Museum and

Library Services Act],” concluding “Plaintiffs are . . . likely to succeed in showing that

defendants’ actions to unilaterally shutter IMLS violate, at minimum, the Administrative

Procedure Act.” Mem. Order at 3, 4. The D.C. Circuit’s reasoning in Widakuswara

demonstrates that such a “wholesale” challenge to an alleged agency closure cannot proceed

under the APA; rather, the agency’s employees and contractors must bring discreet challenges to

the personnel actions as to which they have standing, via the appropriate administrative channels

that Congress created for that purpose. See Widakuswara, 2025 WL 1288817, at *3.

       Likewise, Widakuswara demonstrates that this Court lacks jurisdiction over challenges to

Defendants’ grant terminations. There, the D.C. Circuit held that the government was “likely to

succeed on the merits because the district court likely lacked subject-matter jurisdiction . . . to

compel the agency to restore” grants that it had cancelled. Id. at *3. In reaching that conclusion,

the court applied Department of Education v. California, 145 S. Ct. 966 (2025) (per curiam). Id.

The court reasoned that in the “grants at issue, USAGM . . . promised to pay the appropriated

funds to the [grantees] in monthly installments. In return, the [grantees] promised to use the

funds to advance statutory objectives and to comply with all program requirements.” Id. Such

“exchanges of promises—reflecting offer, acceptance, consideration, mutuality of intent, and

action by an official with authority to bind the government—constitute government contracts for

Tucker Act purposes.” Id. (citing Columbus Reg’l Hosp. v. United States, 990 F.3d 1330, 1338-

39 (Fed. Cir. 2021)). As a result, “the injunction” at issue there “in substance orders specific

performance of the grant agreements—a quintessentially contractual remedy.” Id. And “the

claims of government nonpayment necessarily challenge its performance under the grants. Such



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claims are squarely contract claims under the Tucker Act.” Id. at *4.

       Nor did it matter that “Congress appropriated specific sums for” the grantees. Id. at *4.

Rather, those statutes “do not give the [grantees] an unqualified right to the appropriated funds,”

but instead “allocate funds for the [grantee]s, which may be disbursed only as grants.” Id.

“Once the agency entered those contracts,” its compliance with the terms of those agreements

was subject to the Court of Federal Claims. Id.

       The court also rejected the Widakuswara plaintiffs’ contention that their “non-APA

claims regarding grant money” warranted departure from the conclusion that the district court

lacked subject-matter jurisdiction in light of the Tucker Act: “[T]hese constitutional claims

simply flow from allegations that the Executive Branch has failed to abide by governing

congressional statutes, which does not suffice to trigger the distinctively strong presumptions

favoring judicial review of constitutional claims.” Id. at *5 (citing, inter alia, Ingersoll-Rand

Co. v. United States, 780 F.2d 74, 79–80 (D.C. Cir. 1985), for notion that “Tucker Act governs

challenge to contract termination, ‘despite plaintiff’s allegations of statutory and constitutional

violations’”).

       The same reasoning controls in this case. While the May 1, 2025, Memorandum Order

focuses on Congressional appropriation of funds to IMLS, see Mem. Order at 4, Widakuswara—

and, indeed, the Supreme Court’s reasoning in California—confirms that plaintiffs’ claims

regarding grant termination, even grants premised on appropriated funds, are properly viewed as

contractual claims for purposes of the Tucker Act. Accordingly, as to this set of claims too, this

Court lacks subject matter jurisdiction.

       For all these reasons, reconsideration of the May 1, 2025, Memorandum Order is

warranted. And, manifestly, “harm or injustice would result if reconsideration were to be



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denied.” See supra. As to personnel matters, the Court of Appeals recognized “[t]he Executive

Branch has a significant interest in maintaining control over personnel matters,” and an

injunction interfering with that important responsibility constitutes a harm to the federal

government. See Widakuswara, 2025 WL 1288817, at *5. As to grants, the Court of Appeals

recognized—like the Supreme Court did last month—that the disbursement of funds to grantees,

especially in a setting in which the district court declined to require bond, would mean the

government could not recover those payments even if it later prevailed on appeal. See id. The

same is true here of the grant agreements affected by the TRO. As long as the TRO prohibits

Defendants from further pausing, canceling, or otherwise terminating IMLS grants or contracts,

funds will flow out of the public fisc, with little hope for their recovery.

       Especially in light of the irreparable harm that will result in the absence of relief—the

Court should follow the guidance of the Court of Appeals in Widakuswara and the Supreme

Court in California—and reconsider the May 1, 2025, Memorandum Order. For the same

reason, the Court should deny Plaintiffs’ pending motion for a preliminary injunction.



Dated: May 6, 2025                             Respectfully submitted,


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